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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                   CENTRAL DIVISION


 USA,

               Plaintiff,                              ORDER OF RECUSAL

         vs.

 Sezgin Baran Korkmaz,                                 Case No. 2:21-cr-000140 JNP-CMR

               Defendant.




        I recuse myself in this case, and ask that the appropriate assignment equalization

card be drawn by the clerk’s office. Please have this case directly referred to Judge Jared

C. Bennett.



        DATED this 24th     day of August, 2022.


                                           BY THE COURT:



                                           ___________________________________
                                           Cecilia M. Romero
                                           United States Magistrate Judge
